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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

CHRISTINE TURNER, Special Administrator
Of the Estate of Linda Warner, Deceased                      PLAINTIFF

v.                       No. 4:18-cv-468-DPM

GARRY STEWART, M.D.                                       DEFENDANT

                                ORDER
     Pursuant to General Order 54, the Court authorizes Edward
Zellmer and Hannah Wright, to bring a cell phone, laptop computer,
or personal digital assistant into the Richard Sheppard Arnold United
States Courthouse in Little Rock for a trial beginning on 4 October 2021.
     The following rules apply to this access:
     $     The devices mentioned may not be used to record,
           photograph, or film anyone or anything inside the
           courthouse.

     $     Cell phones and PDAs must be turned off and put away
           when in the courtroom.

     $     Wireless internet components of all electronic devices must
           be deactivated when in the courtroom.

     $     Only counsel, and support staff at counsel table, may use
           laptops in the courtroom.
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     $    Before persons with electronic devices are granted entry into
          the courthouse, all devices must be examined by the United
          States Marshals Service or Court Security Personnel. This
          examination includes, but is not limited to, placing the
          device through the electronic screening machines and
          requiring the person possessing the device to turn the power
          to the device off and on.

     $    The United States Marshals Service may further restrict
          electronic devices from entering the building if a threat so
          requires.

     A violation of these rules may result in seizure of the electronic
devices, withdrawal of the privilege to bring an electronic device into
the courthouse, or other sanctions. A violation of the prohibition on
recording, photographing, or filming anyone or anything inside the
courthouse may be punished as contempt of court.
     So Ordered.

                                  ________________________
                                  D.P. Marshall Jr.
                                  United States District Judge

                                  4 October 2021




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